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Case 2:04-cV-02017-STA-tmp Document 26 Filed 07/06/05 Page 1*0f'21"' "Page|D 35

IN THE UNITED STATES DISTRICT C0URT F“£D BY -'°~l-* "` D-C-
FoR THE wEsTERN DISTRICT 0F TENNESSEE

 

 

 

 

 
 
 

WESTERN DIVISION 05 JUL "5 PH " l"
cwasz uf "‘""WT coum
MARILYN JOHNSON, et al, ) W;D 633 3 ;-:2;§§?+§|3
)
Plaintiffs, )
)
v. ) No. 00-2608
)
CITY OF MEMPHIS, et al, )
)
Defendants. )
FLORENCE BILLINGSLEY, et al, )
)
Plaintiffs, )
) Consolidated Nos.
v. ) 04-2013
) 04-2017_/
CITY OF MEMPI-IIS, et al, )
)
Defendants. )
ORDER ON TRIAL SCHEI)ULE
The trial of these matters Will proceed in accordance With the Trial Schedule set forth
below:
DATE 'I`I E
Week One:
Monday, July 11, 2005 9:00 a.m. - 12:30 p.m.
2:00 p.m. - 5:00 p.m.
Tuesday, July 12, 2005 9:00 a.m. - 12:30 p.m.
2:00 p.m. - 4:45 p.rn.
This document entered on the docket sh p/_`l

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CB.S€ 2204-CV-02017-STA-'[mp

Wednesday, July 13, 2005

Thursday, July l4, 2005
Friday, July 15, 2005
Week Two:

Monday, July 18, 2005-
Tuesday, July 19, 2005
Wednesday, July 20, 2005

Thursday, July 21, 2005

Friday, July 22, 2005

Week Three:

Monday, July 25, 2005
Tuesday, July 26, 2005
Wednesday, July 27, 2005
Thursday, July 28, 2005

Friday, July 29, 2005

 

Document 26 Filed 07/06/05 Page 2 of 4

9:00 a.m. - 12:30 p.m.
2:00 p.m. - 5:00 p.m.

9:00 a.m. - 12:30 p.m.

Off

9:00 a.m. - l2:30 p.m.
2:00 p.m. - 5:00 p.m.

9:00 a.m. - 12:30 p.m.
2:00 p.m. - 5:00 p.m.

9:00 a.m. - 12:30 p.m.
2:00 p.m. - 5:00 p.m.

1:00 p.m. - 5:30 p.m.* (tentative)

9:00 a.m. - l2:30 p.m.
2:00 p.rn. - 5:00 p.m.' (tentative)

9:00 a.m. - 12:30 p.m.
2:00 p.m. - 5:00 p.m.

9:00 a.rn. - l2:30 p.m.
2:00 p.m. - 5:00 p.m.

9:00 a.m. - 12:30 p.m.
2:00 p.m. - 5:00 p.m.

9:00 a.rn. - 12:30 p.m.
2:00 p.m. - 5:00 p.m.

9:00 a.m. - l2:30 p.m.
2:00 p.m. - 5:00 p.m.

Page|D 36

* Hearings in a criminal matter are currently scheduled for July 21-22; thus, for speedy trial reasons, the
civil trial may not go forth on these dates. The Court will notify the parties as soon as possible whether the trial will

be heard on July 21 and 22.

Case 2:04-cV-O2Ol7-STA-tmp Document 26 Filed 07/06/05 Page 3 of 4 Page|D 37

All parties are urged to communicate and prepare to present the evidence as efficiently as

possible.

IT IS So oRl)EREl) this (g h day OfJuiy 2004.

 

 

UNITED STATES DISTRICT JUDGE

       

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:04-CV-02017 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

